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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                Eastern Division

Anissa Lynnet Jones
                              Plaintiff,
v.                                                Case No.: 1:16−cv−08938
                                                  Honorable Rebecca R. Pallmeyer
Comenity Bank
                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, April 18, 2017:


        MINUTE entry before the Honorable Rebecca R. Pallmeyer: Pursuant to Agreed
Stipulation, the above cause is dismissed with prejudice. Each party shall bear its own
costs and attorneys' fees. Mailed notice. (etv, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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